Revised 02/04
                                             United States Bankruptcy Court
                                                  Eastern District of Michigan
 In re    INTERACTIVE HEALTH BENEFITS LLC                                                 Case No.
                                                                 Debtor(s)                Chapter    11



                                         STATEMENT OF DEBTOR REGARDING
                                              CORPORATE OWNERSHIP


          The following entities directly or indirectly own 10% or more of any class of the debtor's equity interest:


            Name:
            Address:

          (For additional names, attach an addendum to this form)

          There are no entities that directly or indirectly own 10% or more of any class of the debtor's equity
          interest.

                   I declare under penalty of perjury that the foregoing is true and correct.


            April 16, 2024                         /s/ Todd Covert
Dated:
                                                   Signature of Authorized Individual
                                                   For Corporation Debtor


                                                   Todd Covert

                                                   Print Name



                                                   Chief Executive Officer and Sole Member
                                                   Title




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                 23-46912-tjt Doc
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